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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

CENTRAL DIVISION |”

 

MDL. 1546 IN RE MEDICAL WASTE
SERVICES ANTITRUST LITIGATION
ORDER

 

This Document Relates to:
2:03MD1546 DAK

ALL CASES

 

 

This matter is before the court on (1) Stericycle’s Motion to Dismiss the Tri-State Class
Action Cases!; (2) BFI Defendants’ Motion to Dismiss’; and (3) Stericycle’s Motion to Dismiss

Claims in Stoll2 A hearing on the motions was held on June 15, 2004. At the hearing,

 

! The Tri-State Class Action includes 5 cases: (1) Inter-Care Med. Assoc. v. Stericycle
(2:03CV886); (2) Sorensen v. Stericycle (2:03CV179); (3) Comprehensive Addiction Treatment
Servs., Inc. v. Stericycle (2:03CV784); (4) Haas DPM vy. Stericycle (2:03CV795), and (5)
Arizona Eye Ctr. v. Stericycle (2:03CV887).

* The BFI Defendants have joined in Stericycle’s motions, with the exception of the
portion of Stericycle’s motion directed toward the Sto// Complaint. The BFI Defendants are not
named as Defendants in the Stoll action.

? Stericycle, joined by BFI, also moved to dismiss claims alleged by NAFTA and
Johnson, but these motions are now denied as moot. NAFTA has settled with Stericycle, .
rendering moot Stericycle’s motion to dismiss NAFTA’s claims. Although NAFTA has not
submitted dismissal papers regarding its claims against BFI, BFI’s counsel, Mr. Northup
represented at the hearing that NAFTA has agreed to dismiss its claims against BFI.

In addition, Johnson has filed a motion for leave to amend his Complaint, thereby
rendering moot Stericycle’s motion to dismiss Johnson’s claims. Johnson and Stericycle have
requested that the motion for leave to amend be held in abeyance pending negotiations by the
parties, The court has assumed that BFI’s motion to dismiss the Johnson claims is also moot for

the same reason.

 

 
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Stericycle, Inc. (“Stericycle”) was represented by Raymond J. Etcheverry. BFI Waste Systems
of North America, Inc. and Allied Waste Systems, Inc. (collectively, “BFT”) were represented by
Douglas C. Northup, and Plaintiffs were represented by Andrew S. Friedman. Before the
hearing, the court considered carefully the memoranda and other materials submitted by the
patties. Since taking the matter under advisement, the court has further considered the law and
facts relating to the motions. Now being fully advised, the court renders the following Order.

I. NATURE OF THE TRI-STATE CLASS ACTION

Plaintiffs allege that Defendants engaged in a conspiracy with the purpose and effect of
impermissibly allocating customers and geographic territories, monopolizing markets, and
committing other unlawful practices designed to restrain competition and increase prices of
collection, transport, and lawful disposal of medical waste products in the states of Utah,
Arizona, and Colorado (“Medical Waste Services”) charged to Plaintiffs.* Plaintiffs claim that
Defendants’ acts constitute violations of Section 1 and 2 of the Sherman Act, Section 7 of the
Clayton Act, and similar state law antitrust statutes.

Plaintiffs allege that, before November 1997, Defendants Stericycle and BFI were the
two largest companies in Utah, Arizona, and Colorado in the market for Medical Waste Services
and were in direct competition with each other. Together, Plaintiffs claim, the two companies
held the dominant share of the Medical Waste Services markets in these states. From November

1, 1997 until the present time (the “Class Period”), Plaintiffs claim that Defendants engaged in

 

* The Stoll Complaint, which is also currently at issue, makes similar claims but pertains
to the California market. The Stoll action names only Stericycle-not BFI—as a Defendant.

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illegal anticompetitive conduct by, among other things, allocating markets and equipment so that
Defendants were no longer in competition with each other and dividing geographic territories,
and then exploiting their resulting monopoly to charge supra-competitive prices, to the detriment
of Plaintiffs and the Class.

Specifically, Plaintiffs allege that, by agreements dated November 24, 1997 and
December 15, 1997, (the “Market Division Agreements”), BFI and Stericycle agreed to cease
competing with each other in Utah, Arizona, and Colorado for Medical Waste Services. In the
Market Division Agreement, Stericycle and BFI agreed to divide between them existing and
future customers, vehicles, equipment, and employees. In addition, according to Plaintiffs, these
horizontal competitors agreed to allocate exclusive geographic territories to each other and
promised not to compete against each other within those exclusive territories. Pursuant to the
Market Division Agreements, BFI transferred to Stericycle 2,520 of BFI’s commercial Medical
Waste Services customers in Arizona, and Stericycle transferred to BFI 264 customers in Utah
and 1,362 customers in Colorado, for a total of 1,626 customers.

According to Plaintiffs, during the months and years following the alleged conspiracies
to divide markets and allocate customers, Defendants committed numerous overt acts in
furtherance of the conspiracies to restrain trade and to monopolize the Relevant Geographic
Market (Utah, Colorado, and Arizona) for Medical Waste Services. For example, Plaintiffs
claim that, among other things, Defendants:

° Threatened to impose substantially higher disposal rates on third-party medical

waste haulers;

. Locked customers into long-term contracts with exclusivity clauses, thereby

 

 
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erecting additional barriers to entry;
° Sold, dismantled, and closed waste disposal facilities to avoid violating the

agreement not to compete;

. Foreclosed access by third-party haulers to Stericycle’s incineration facilities in
Utah and Arizona;
° Imported Stericycle’s own medical waste from California to Utah to reach

necessary operating volumes rather than accepting medical waste collected from third-party
haulers in Utah;

. Worked together to have Stericycle designated as the authorized medical waste
collector for Maricopa County Hospital in Phoenix, Arizona;

. Artificially raised prices for medical waste disposal services to supra-competitive
levels.

On November 12, 1999, Stericycle bought out BFI’s Medical Waste Services business in
Utah, Arizona, Colorado, and elsewhere. Plaintiffs claim that Stericycle then cancelled third-
party hauler contracts in Utah, forcing them to find other, more expensive disposal outlets.

On August 14, 2002, Stericycle agreed to settle antitrust charges, similar to those alleged
herein, by the Arizona Attorney General and to pay $320,000 in civil penalties and costs. It
further agreed to provide up to 50,000 pounds per month of incineration treatment services for
third-party haulers at its Arizona facility and was required to issue 25% rebates for the next two
years to certain companies that had previously been excluded by Stericycle’s alleged
anticompetitive practices.

On January 13, 2003, Stericycle and BFI agreed to settle antitrust charges, similar to

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those alleged by Plaintiffs in this action, by the Utah Attorney General, and to pay a civil penalty
of $580,000, costs in the amount of $150,000, and an additional $100,000 contribution to a fund
to increase competition in the Medical Waste Services industry. Stericycle agreed to change its
alleged anticompetitive practices by limiting its use of long-term contracts, eliminating exclusive
disposal contracts, and opening up its Utah incinerator to previously restricted third-party
haulers.

The Tri-State Plaintiffs in the instant action had all purchased Medical Waste Services
from Stericycle. They claim they have been economically injured in the prices they pay for such

services, which, they assert, have been artificially raised to supra-competitive levels due to the

conduct of Defendants.
Il. MOTION TO DISMISS CLAIMS IN THE TRI-STATE CLASS ACTION CASE

Stericycle and the BFI Defendants have moved to dismiss causes of action 1-3 and 5-8
raised in the Tri-State Class Action Plaintiffs’ Consolidated Class Action Complaint.
Defendants concede that the Fourth and Ninth Causes of Action allege claims that cannot be
dismissed at this stage. Below is a list of the claims at issue in the motions to dismiss:

First Cause of Action: Agreement to Allocate Customers in Restraint of Trade in per se

violation of the Sherman Act, 15 U.S.C. §1;

Second Cause of Action: Agreement to Divide Geographic Territories in Restraint of

Trade in per se violation of the Sherman Act, 15 U.S.C. §1;

Third Cause of Action: Monopolization of the Market for Medical Waste Services, in

violation of the Sherman Act, 15 U.S.C. §2;

Fifth Cause of Action: Unlawful Merger, Stock Acquisition and/or Asset Acquisition in

 
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violation of Section 7 of the Clayton Act;

Sixth Cause of Action: Violation of the Arizona Uniform State Antitrust Act;

Seventh Cause of Action: Violation of the Utah Antitrust Act;

Eighth Cause of Action: Violation of the Colorado Antitrust Act.

Stericycle makes three general arguments for dismissal of these seven claims. First,
Stericycle claims that the first three causes of action (and the related state law claims) based on
the 1997 transaction between BFI and Stericycle must be dismissed because the statute of
limitations has run and Plaintiffs have not and cannot allege facts sufficient to support a claim of
fraudulent concealment to toll the statute of limitations, and Plaintiffs have not adequately
alleged a continuing violation to restart the limitations period. Second, Stericycle claims that
the third cause of action and related state law claims must also be dismissed because
monopolization cannot be based on conspiracy. Finally, Stericycle argues that Plaintiffs’ Fifth
Cause of Action and related state claims based on Stericycle’s 1999 acquisition of BFI’s medical
waste business, which was cleared by the Department of Justice, must be dismissed for failure to
state a claim. Each of these arguments is discussed below.

A. ARE THE FIRST THREE CAUSES OF ACTION (AND THE STATE CLAIMS) TIME-
BARRED?

Defendants argue that the first three claims and each of the state claims are time barred
because the Clayton Act-and each of the state antitrust acts—provides a four-year statute of
limitations for private antitrust actions seeking damages. Plaintiffs’ first Complaint was filed on

January 27, 2003, and thus, according to Defendants, any alleged anticompetitive conduct prior

to January 27, 1999 is time-barred. Because Plaintiffs seek damages for conduct based on an

 
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agreement executed in November of 1997, these claims are time barred.

Moreover, Defendants argue, Plaintiffs attempt to avoid this problem by pleading
fraudulent concealment on the part of Defendants. Defendants claim that this attempt fails
because the allegations lack the required particularity under Rule 9(b), including time, place, and
content of the acts of concealment, successful concealment from Plaintiffs, and the acts
constituting Plaintiffs’ own exercise of due diligence to discover the factual bases of their
claims. Defendants contend that Plaintiffs acknowledge being directly notified of the changes in
service.

Defendants further contend that Plaintiffs’ attempt to rely the continuing violation
doctrine also fails because they have not satisfied the requirements of Kaw Valley Electrical
Cooperative Co., Inc. v. Kansas Electric Power Cooperative, Inc., 872 F.2d 931, 933 (10 Cir.
1989), and because the “overt acts” did not occur between January 27, 1999 and December 27,
1999, the “Critical Period,” as defined by Defendants.

The court finds that Plaintiffs have adequately pleaded overt acts to constitute continuing
violations and that they have adequately pleaded fraudulent concealment to toll the statute of
limitations. While Defendants might have successful arguments on summary judgment, the
court finds that it would be premature to dismiss these claims on statute of limitations grounds at
this stage of the litigation. For the same reasons, the court finds that the state law claims are not
time-barred.

In conclusion, the court declines to dismiss on statute of limitations grounds Plaintiffs’

First, Second, Third, Sixth, Seventh and Eighth Causes of Action.

 

 
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B. SHOULD THE THIRD CAUSE OF ACTION (AND RELATED STATE CLAIMS) BE
DISMISSED FOR THE ADDITIONAL REASON THAT PLAINTIFFS HAVE NOT AND
CANNOT ALLEGE UNILATERAL MONOPOLY POWER AND BECAUSE A
MONOPOLIZATION CLAIM CANNOT BE BASED ON A CONSPIRACY?
Defendants claim that, in the Third Cause of Action alleging monopolization under
Section 2 of the Sherman Act, Plaintiffs have failed to state a claim because they do not and
cannot allege unilateral monopoly power and they do not allege willful acquisition or
maintenance of such power. Defendants contend that monopolization under Section 2 of the
Sherman Act covers unilateral action by a sing/e firm (not “shared monopoly power” resulting
from an alleged conspiracy) where two elements are present: (1) the possession of monopoly
power in the relevant market; and (2) the wiliful acquisition or maintenance of that power.
United States v. Grenfell Corp., 384 U.S. 563, 570-71 (1966). Defendants argue that Plaintiffs
do not allege that Stericycle or the BFI Defendants ever had monopoly power in a relevant
market, nor do they allege any exclusionary conduct by BFI or Stericycle. Defendants contend
that Plaintiffs allege a conspiracy and that these acts and practices had the effect of excluding
competing companies from a substantial share of the market; however, Defendants claim, a
conspiracy that raises prices encourages entry into the market and benefits, not hurts, other
competitors.
Plaintiffs, however, pleaded that each of the Defendants possessed monopoly power in
the relevant market-Stericycle in Arizona, and BFI in Utah and Colorado—and willfully

maintained that power through improper means. Thus, Plaintiffs have adequately alleged

unilateral monopoly power required by all monopolization claims, and the court cannot dismiss

such claims at the pleading stage.

 
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| OF SHOULD THE FIFTH CLAIM (AND STATE CLAIMS) BE DISMISSED FOR FAILURE
TO STATE A CLAIM?

Defendants argue that the Fifth Cause of Action alleging that Stericycle’s 1999
government-cleared acquisition of BFI’s medical waste business violates Section 7 of the
Clayton Act (and related state antitrust claims) because those claims fail to allege sufficient facts
relating to market conditions and fail adequately to allege the requisite antitrust injury sufficient
to give the putative class standing to assert such a claim. They claim that Plaintiffs’ bare
allegation of “increased concentration” followed by their mimicking the words of the Clayton
Act is not sufficient. They also argue that the claim should be dismissed on standing grounds
for failure to allege facts necessary to establish antitrust injury, i-e., that the injury sustained
derives from the type of conduct that the antitrust laws were intended to prevent. Brunswick
Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977). Defendants claim that a
plaintiff's status as a consumer does not automatically mean that harm to the plaintiff constitutes
antitrust injury. They also point out that Plaintiffs assert that the Relevant Geographic Market
was already “highly concentrated” before the 1999 acquisition (i.e., Defendants had already
achieved monopolies in their respective markets prior to the merger), and ask how, then, was
competition injured when Stericycle acquired BFT’s monopoly. Defendants also contend that
Plaintiffs’ bald allegation that the effect of Stericycle’s 1999 acquisition “was to substantially
lessen competition, and/or tend to create a monopoly in the Relevant Geographic Market for
medical Waste Services . . .” is insufficient to allege antitrust injury. Defendants claim that there

is no factual support for the conclusory assertions of damage to competition or injury. For

example, the Complaint fails to make any allegation that prices increased or output decreased as

 

 
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a result of the merger.

Section 7 of the Clayton Act requires that the challenged merger or acquisition (1) create
undue concentration in the market, (2) the effect of which may be substantially to lessen
competition or to tend to create a monopoly. See United States v. Philadelphia Nat’! Bank, 374
USS. 321, 363 (1963).

The court agrees that Plaintiffs have not adequately alleged that there was any increase in
concentration by virtue of the ‘99 merger and that by virtue of that increased concentration, some
Plaintiff paid a higher price. Thus, Plaintiffs have not stated a Section 7 claim, and it must be
dismissed. If Plaintiffs can adequately plead such a claim, they may amend their Complaint.

In addition to joining in Stericycle’s arguments, the BFI Defendants make one additional
argument for dismissal of the Fifth Cause of Action against them, claiming that antitrust claims
based on Section 7 of the Clayton Act do not apply to BFI as a seller of assets. Plaintiffs
correctly conceded at oral argument that the court would have to make new law to permit
Plaintiffs to assert a claim against BFI as a seller of assets. The court declines to make new law,
and consequently dismisses with prejudice the Section 7 claim against BFI.

Il. STERICYCLE’S MOTION TO DISMISS COUNT II OF THE STOLL COMPLAINT®

Stericycle argues that Stoll’s Count II (violation of Section 7 of the Clayton Act)+to the
extent it also challenges the 1999 merger between BFI and Stericycle-should be dismissed for
failing to allege sufficient facts relating to market conditions and inadequately alleging the

requisite antitrust injury sufficient to give the putative class standing to assert such a claim.

 

> The Sto// Complaint is another proposed class-action Complaint, but it pertains to the
California market for Medical Waste Services.

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The court agrees with Stericycle that the Stoll Complaint, while it adequately alleges a
Section 7 claim as to the IES acquisition, does not state a Section 7 claim regarding the 1999
merger between BFI and Stericycle. Thus, to the extent that Stoil is challenging the 1999
merger, the claim is dismissed without prejudice.

CONCLUSION

For the foregoing reasons, IT IS HEREBY ORDERED that (1) Stericycle’s Motion to
Dismiss the Tri-State Class Action Cases is GRANTED in part and DENIED in part. Plaintiffs’
Fifth Cause of Action is DISMISSED without prejudice; (2) BFI’S Motion to Dismiss is
GRANTED in part, DENIED in part, and MOOT in part. The Fifth Cause of Action against BFI
is DISMISSED with prejudice. The motion, as it pertains to Johnson and NAFTA is MOOT; (3)

Stericycle’s Motion to Dismiss Claims in the Stoll, Johnson, and NAFTA Complaints is
GRANTED in part and MOOT in part. Stoll’s Second Cause of Action, to the extent it pertains
to the 1999 merger is DISMISSED without prejudice. The motion, as it pertains to Johnson and
NAFTA, is MOOT. Plaintiffs are granted leave to amend provided that such amendment is filed
and served no later than October 20, 2004.

DATED this 30" of September, 2004.

BY THE COURT:

 

United States District Judge

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United States District Court
for the
District of Utah
October 1, 2004

* * CERTIFICATE OF SERVICE OF CLERK * *

Re: 2:03-md-01546

True and correct copies of the attached were either mailed, faxed or e-mailed
by the clerk to the following:

Nicholas Koluncich III, Esq.
6804 FOURTH ST NW

LOS RANCHOS DE ALBUQ, NM 87107
EMAIL

Joann Shields, Esq.

ATKIN & SHIELDS PC

136 S MAIN SIXTH FL

SALT LAKE CITY, UT 84101
EMAIL

Bruce D. Hall, Esq.

RODEY DICKASON SLOAN AKIN & ROBB PA
PO BOX 1888

ALBUQUERQUE, NM 87103

‘Jordan Green, Esq.
FENNEMORE CRAIG PC

3003 N CENTAL AVE STE 2600
PHOENIX, AZ 85012-2913
EMAIL

Timothy J. Burke, Esq.
FENNEMORE CRAIG PC

3003 N CENTAL AVE STE 2600
PHOENIX, AZ 85012-2913
EMAIL

Mr. Allan T. Brinkerhoff, Esq.
RAY QUINNEY & NEBEKER

36 S STATE ST STE 1400

PO BOX 45385

SALT LAKE CITY, UT 84145-0385
EMAIL

James S. Jardine, Esq.

RAY QUINNEY & NEBEKER

36 S STATE ST STE 1400

PO BOX 45385

SALT LAKE CITY, UT 84145-0385

 

 
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Case 2:03-md-01546-D Document 127 Filed 10/01/04
EMAIL

Kip B. Shuman, Esq.
DYER & SHUMAN LLP

801 E 17TH AVE

DENVER, CO 80218-1417

Christopher Lane, Esq.
SHERMAN & HOWARD LLC

633 SEVENTEENTH ST STE 3000
DENVER, CO 80202

Christopher A. Holland, Esq.
SUTIN THAYER & BROWNE

PO BOX 1945

ALBUQUERQUE, NM 87103

Norman S. Thayer, Esq.
6565 AMERICAS PKWY NE
TWO PARK SQUARE #1000
ALBUQUERQUE, NM 87103

Mr. Raymond J Etcheverry, Esq.
PARSONS BEHLE & LATIMER

201 S MAIN ST STE 1800

PO BOX 45898

SALT LAKE CITY, UT 84145-0898
EMAIL

Charles A. Blanchard, Esq.
PERKINS COIE BROWN & BAIN
2901 N CENTRAL AVENUE

PO BOX 400

PHOENIX, AZ 85001-0400

Michael S. McCarthy, Esq.
FAEGRE & BENSON

1700 LINCOLN ST

STE 3200 WELLS FARGO CENTER
DENVER, CO 80203-4004

Michael J. Beck

JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
THURGOOD MARSHALL FEDERAL JUDICIARY BLDG
ONE COLUMBUS CIRCLE NE

RM G-255 NORTH LOBBY

WASHINGTON, DC 20002-8004

Mr. Andrew H Stone, Esq.

JONES WALDO HOLBROOK & MCDONOUGH
170 S MAIN ST STE 1500

PO BOX 45444

SALT LAKE CITY, UT 84145-0444

David R. Scott, Esq.
SCOTT & SCOTT

PO BOX 192

108 NORWICH AVE
COLCHESTER, CT 06415
EBMAIL

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Case soem Document 127 Filed 10/01/04 e- Page 14 of 14

William J. Doyle II, Esq.

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS LLP
401 B ST STE 1700

SAN DIEGO, CA 92101

EMAIL

Bonny E. Sweeney, Esq.

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS LLP
401 B ST STE 1700

SAN DIEGO, CA 92101

Jack Landskroner, Esq.
LANDSKRONER GRIECO
1360 W 9TH ST STE 200
CLEVELAND, OH 44077
EMATL

Francis Joseph Balint Jr., Esq.

BONNETT FAIRBOURN FRIEDMAN & BALINT, P.C.
2901 N CENTRAL AVE, STE 1000

PHOENIX, AZ 85012

EMAIL

Bernard Persky, Esq.

GOODKIND LABATON RUDOFF & SUCHAROW LLP
100 PARK AVE

NEW YORK, N¥ 10017

Rosemary Joy Shockman, Esq.

SHOCKMAN LAW OFFICE

8170 N 86TH PL STE 102
SCOTTSDALE, AZ 85258

 

 

 
